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FANTASY


NBA Extends U.S. Betting Data Partnerships With Sportradar and
Genius Sports Group
Sportradar and Genius Sports Group will continue to distribute official NBA betting data to
authorized sports betting operators in the United States



Official Release                                                             October 29, 2020 10:05 AM




NEW YORK, NY, Oct. 29, 2020 – The National Basketball Association (NBA) today
announced it has extended its official betting data partnerships with Sportradar and
Genius Sports Group in the U.S. As part of these multiyear partnership renewals,
Sportradar and Genius Sports Group will continue to have the non-exclusive rights to
distribute official NBA and WNBA betting data to licensed sports betting operators in the
U.S. Thus far, the NBA has authorized sports betting partnerships with more than 20
operators in the U.S.

Genius Sports Group and Sportradar work closely with the NBA to ensure those fans who
choose to bet on games legally have access to real-time, official NBA betting data
through licensed gaming operators, as legalized betting is implemented in their
respective states. This includes official betting data for all NBA and WNBA games,
including throughout the regular season and playoffs. Both companies can also
distribute betting data products which utilize the official data feed to both licensed
sports betting operators and platform providers.

“We are pleased to extend our partnership with the NBA for official NBA betting data in
the U.S. market,” said Steve Byrd, Head of Global Strategic Partnerships, Sportradar. “As
legalized sports betting expands into more states and grows in popularity overall, this
presents us with a tremendous opportunity to continue spearheading cutting-edge NBA
feeds and betting products for operators, while redefining the customer experience for
the fans.”

“We are delighted that the NBA has chosen to extend its official data partnership with
Genius Sports Group in the U.S. We look forward to providing official NBA data, alongside
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our advanced in-game NBA betting products and services, to sportsbooks across the
U.S.” said Mark Locke, CEO of Genius Sports Group. “We are world renowned for driving
innovation in basketball sports betting and this extended partnership reaffirms our
commitment to delivering a first-class betting experience for NBA fans.”

“Over the past two seasons Sportradar and Genius Sports Group have been sources for
official NBA betting data, which is crucial for authorized gaming operators and ultimately
fans who engage with NBA and WNBA games through betting,” said Scott Kaufman-
Ross, Senior Vice President, Head of Fantasy & Gaming, NBA. “The U.S. sports betting
industry has recognized the value of official data, particularly for in-play betting, and
these extensions will ensure operators continue to have access to our real-time feed as
sports betting develops throughout the U.S.”




About the NBA
The NBA is a global sports and media business built around four professional sports
leagues: the National Basketball Association, the Women’s National Basketball
Association, the NBA G League and the NBA 2K League. The NBA has established a
major international presence with games and programming in 215 countries and
territories in 47 languages, and merchandise for sale in more than 100,000 stores in 100
countries on six continents. NBA rosters at the start of the 2019-20 season featured 108
international players from 38 countries and territories. NBA Digital’s assets include NBA
TV, NBA.com, the NBA App and NBA League Pass. The NBA has created one of the
largest social media communities in the world, with 1.9 billion likes and followers
globally across all league, team, and player platforms. Through NBA Cares, the league
addresses important social issues by working with internationally recognized youth-
serving organizations that support education, youth and family development, and health-
related causes.




About Sportradar
Sportradar is the global provider of sports betting and sports entertainment products
and services. Established in 2001, the company occupies a unique position at the
intersection of the sports, media and betting industries, providing sports federations,
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 news media, consumer platforms and sports betting operators with a range of solutions
 to help grow their business. Sportradar employs over 2,000 people in more than 30
 locations around the world. It is our commitment to excellent service, quality and
 reliability that makes us the trusted partner of more than 1,000 companies in over 80
 countries and official partner of the NBA, NFL, NHL, MLB, NASCAR, FIFA and UEFA. We
 monitor, analyze and deliver insights from more than 400,000 matches annually across
 60 sports. With deep industry relationships, Sportradar is not just redefining the sports
 fan experience; it also safeguards the sports themselves through its Integrity Services
 division and advocacy for an integrity-driven environment for all involved.




 About Genius Sports Group
 Genius Sports Group is one of the world’s largest sports technology companies,
 specializing in the capture, distribution and commercialization of live data, streams and
 digital content. We work in partnership with the biggest names in sports, betting and
 media to power a global ecosystem that benefits every stakeholder. Headquartered in
 London, we have offices in New York, Medellin, Tallinn, Sofia, Melbourne, Bologna, Vilnius,
 Lausanne and Singapore, which are home to over 1,400 of our talented employees.
 We are the trusted sports data, technology and integrity partner to hundreds of sporting
 bodies. This includes many of the world’s largest leagues and federations such as the
 NBA, FIBA, NCAA, PGA TOUR, NASCAR, and the English Premier League.
 Founded in 2000, Genius Sports Group is a leading provider of sophisticated data-driven
 software to regulated sportsbook operators around the globe. Our multi-award-winning
 technology is built to help our partners maximize their performance through engaging
 betting content and sportsbook management services.



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                  The new partnership with the NBA, WNBA and G League begins with the 2023-24 NBA season.




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